 Case 2:12-md-02327 Document 2334 Filed 06/22/16 Page 1 of 4 PageID #: 73291




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY LITIGATION                                 MDL NO. 2327

____________________________________________
THIS DOCUMENT RELATES TO THE CASE(S)
LISTED ON THE EXHIBIT ATTACHED HERETO:


   JOINT MOTION TO DISMISS BOSTON SCIENTIFIC CORP. WITH PREJUDICE

       Plaintiffs in the cases listed on the attached Exhibit A and defendant Boston Scientific

Corp., advise the Court that they have compromised and settled all claims between them in these

actions, including all counterclaims, cross-claims and third party claims.

       Accordingly, Plaintiffs and Boston Scientific Corp. jointly move the court to dismiss

Boston Scientific Corp. with prejudice in the cases listed on the attached Exhibit A, with each

party to bear its own costs. The settlements in the cases listed on Exhibit A relate only to Boston

Scientific Corp. Other defendants in these actions remain pending, and plaintiffs will continue to

prosecute these actions against them.

Respectfully:

/s/ Jon A. Strongman
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Attorneys for Plaintiffs on Exhibit A
   Case 2:12-md-02327 Document 2334 Filed 06/22/16 Page 2 of 4 PageID #: 73292




            EXHIBIT A – BLASINGAME BURCH GARRARD & ASHLEY, P.C.



CIVIL ACTION NUMBER                             CASE NAME
   (listed numerically in
      ascending order)

                                    Janice M. Bresnick and Donald Bresnick v.
      2:13-cv-06024                             Ethicon, Inc., et al.
                                   Janice M. Vernon-Parris & Vincent Parris v.
      2:13-cv-06092                             Ethicon, Inc., et al.
                                  Yvonne Lee Sayers and Donald Ray Sayers v.
      2:13-cv-06512                             Ethicon, Inc., et al.
                                     Tina Marie Hurst and Rodney O. Hurst v.
      2:13-cv-07575                             Ethicon, Inc., et al.
                                   Marla J. Sappington and John Sappington v.
      2:13-cv-07581                             Ethicon, Inc., et al.
                                     Nira W. Reese and Lawrence E. Reese v.
      2:13-cv-22866                             Ethicon, Inc., et al.
                                   Beverly Ritchey Smith and Stanley Smith v.
      2:13-cv-22870                             Ethicon, Inc., et al.
                                   Barbara L. Gilman and Harry W. Gilman v.
      2:13-cv-24509                             Ethicon, Inc., et al.
                                   Susan Lewallen Collins and Steve Collins v.
      2:13-cv-25724                             Ethicon, Inc., et al.
                               Margaret Mary Childree and Michael Childree, Sr. v.
      2:13-cv-25729                             Ethicon, Inc., et al.
                                      Dawn Michelle Jones and Bub Jones v.
      2:13-cv-26341                             Ethicon, Inc., et al.
                             Nancy Dignum f/k/a Nancy Whittle and Marcus Dignum v.
      2:13-cv-27235                             Ethicon, Inc., et al.
                                   Darline M. Monahan and Frank Monahan v.
      2:13-cv-27907                             Ethicon, Inc., et al.
                                      Madge S. Clayton and Mark Clayton v.
      2:13-cv-27909                             Ethicon, Inc., et al.
                                               Barbara Sue Bias v.
      2:13-cv-28054                             Ethicon, Inc., et al.
                                     Joyce M. Martin v. Marshall J. Martin v.
      2:13-cv-28886                             Ethicon, Inc., et al.
                                              Terry Janene Bravo v.
      2:13-cv-31417                             Ethicon, Inc., et al.
                                   Elizabeth C. Santos and Fransisco Santos v.
      2:13-cv-33233                             Ethicon, Inc., et al.
      2:14-cv-02470                            Princess J. Hassan v.
                                                Ethicon, Inc., et al.
Case 2:12-md-02327 Document 2334 Filed 06/22/16 Page 3 of 4 PageID #: 73293




                               Florence L. Oglesby and Glenn A. Oglesby v.
  2:14-cv-03190                              Ethicon, Inc., et al.
                                            Patricia R. Dutton v.
  2:14-cv-04437                              Ethicon, Inc., et al.
                                             Laurel M. Taylor v.
  2:14-cv-04470                              Ethicon, Inc., et al.
                              Debbie Louise McGough and Dennis McGough v.
  2:14-cv-04801                              Ethicon, Inc., et al.
                                    Dania E. Persiani and Jesse Persiani v.
  2:14-cv-04816                              Ethicon, Inc., et al.
                                     Leslie Rager and Kenneth Rager v.
  2:14-cv-04817                              Ethicon, Inc., et al.
                                  Diane F. Moletto and Vincent Moletto v.
  2:14-cv-13057                              Ethicon, Inc., et al.
                                Elissa Ann Jacobson and Scott E. Jacobson v.
  2:14-cv-19784                              Ethicon, Inc., et al.
                                  Mary Lou Alvarado and Sam Alvarado v.
  2:14-cv-26546                              Ethicon, Inc., et al.
                                     Sandra Beelen and Frank Beelen v.
  2:14-cv-26885                              Ethicon, Inc., et al.
                                     Brenda Brooks and Travis Brooks v.
  2:14-cv-30970                              Ethicon, Inc., et al.
 Case 2:12-md-02327 Document 2334 Filed 06/22/16 Page 4 of 4 PageID #: 73294




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2016, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in these member cases.




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